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             11
                                            IN THE UNITED STATES DISTRICT COURT
             12
                                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
             13
             14
             15
             16     GAVIN NEWSOM, IN HIS OFFICIAL
                    CAPACITY AS GOVERNOR OF THE
             17     STATE OF CALIFORNIA; STATE OF                           DECLARATION OF BRIAN
                    CALIFORNIA,                                             OLMSTEAD
             18
                                               Plaintiffs, Date:
             19                                            Time:
                                v.                         Courtroom:
             20                                            Judge: Charles R. Breyer
                                                           Trial Date:
             21     DONALD TRUMP, IN HIS OFFICIAL          Action Filed: 6/9/2025
                    CAPACITY AS PRESIDENT OF THE
             22     UNITED STATES; PETE HEGSETH, IN
                    HIS OFFICIAL CAPACITY AS SECRETARY
             23     OF THE DEPARTMENT OF DEFENSE;
                    U.S. DEPARTMENT OF DEFENSE,
             24
             25 Defendants.
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                                                                                              Declaration of Brian Olmstead
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              1                               DECLARATION OF BRIAN OLMSTEAD
              2
                                  I, Brian Olmstead, declare as follows:
              3
                           1.     I am over the age of 18 years and a U.S. citizen. I know the following
              4
                    facts based on my own personal knowledge and on my review of information and
              5
                    records gathered by California Governor’s Office of Emergency Services (Cal
              6
                    OES) staff in the ordinary course of business, and if called as a witness, I could and
              7
                    would testify competently to the matters set forth below.
              8
                           2.     I currently serve as an Assistant Chief in the Law Enforcement Branch
              9
                    (LEB) of the California Governor’s Office of Emergency Services (Cal OES). As
             10
                    an Assistant Chief, my duties include, but are not limited to: implementing and
             11
                    coordinating California’s Law Enforcement Mutual Aid System (Mutual Aid
             12
                    System) in case of a natural or war-caused disaster, civil disturbance, mass casualty
             13
                    event, or homeland security incident; consulting with and advising local law
             14
                    enforcement organizations in the utilizing California’s Mutual Aid System;
             15
                    assisting in the coordination of emergency law enforcement activities during the
             16
                    time of a natural or war-caused disaster or civil disturbance; and providing planning
             17
                    and training guidance for law enforcement and homeland security programs.
             18
                           3.     California’s Law Enforcement Mutual Aid System was established in
             19
                    1961 and has been used to restore order during emergencies, including civil unrest,
             20
                    and to provide assistance to local agencies during other unusual events or
             21
                    catastrophic disasters. As a component of the Standardized Emergency
             22
                    Management System (SEMS), the Mutual Aid System is based on four
             23
                    organizational levels: cities, counties, regions, and the State. The state is divided
             24
                    into seven Law Enforcement Mutual Aid Regions. Cal OES Law Enforcement
             25
                    Branch has Assistant Chiefs assigned to each of the seven regions for direct
             26
                    coordination with law enforcement chiefs and sheriffs within each region. I am the
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             28
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              1     Assistant Chief assigned to Region 1, which is comprised of Los Angeles and
              2     Orange Counties.
              3            4.     The County Sheriff serves as the “Operational Area Mutual Aid
              4     Coordinator.” In each of the seven regions, one Sheriff, elected by his or her peers,
              5     serves as the Regional Mutual Aid Coordinator (RMAC). The Los Angeles County
              6     Sheriff is the Regional Mutual Aid Coordinator for Region 1.
              7            5.     Under the Mutual Aid System, within an operational area, adjacent or
              8     neighboring law enforcement agencies will assist one another. Should an event
              9     require assistance from outside the county, the region will provide requested
             10     assistance to the impacted county. If the combined resources of the region are
             11     insufficient to cope with the incident, the Regional Coordinator contacts the Cal
             12     OES Law Enforcement Branch for coordination of resources.
             13            6.     As Assistant Chief, on June 6, 2025, I began monitoring the protests
             14     occurring in the city of Los Angeles at the Metropolitan Detention Center that
             15     began that day, involving individuals protesting immigration enforcement activities
             16     being carried out by U.S. Immigration and Customs Enforcement (ICE). I was in
             17     regular communication with representatives of the Los Angeles Police Department
             18     (LAPD) and the Los Angeles County Sheriff’s Department (LASD) regarding the
             19     situation. On June 6, 2025, Both LAPD and LASD informed me that they were not
             20     in need of any additional resources, whether additional personnel or equipment. I
             21     understand that LAPD had reassigned about 150 additional officers to the area
             22     around Metropolitan Detention Center. Based on my observations and experience,
             23     which includes serving 32 years as a peace officer with the Santa Barbara County
             24     Sheriff’s Department, local law enforcement was effectively managing the
             25     situation.
             26            7.     I continued to monitor activities occurring in the city and county of Los
             27     Angeles on June 7, 2025, as it appeared that federal immigration enforcement
             28     activities were continuing and, thus, protests would continue. Protests did continue
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                                                                                              Declaration of Brian Olmstead
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              1     at the Metropolitan Detention Center, as well as in the cities of Paramount and
              2     Compton. Nonetheless, I did not receive any requests for mutual aid, which is an
              3     indication that local law enforcement agencies felt they were capable of controlling
              4     the situation. I understand that LASD provided at least 200 deputies to respond to
              5     the protests in Paramount and Compton. I further understand that part of the
              6     assistance provided by LASD included their Sheriff’s Response Team – a team
              7     with specialized training in handling civil unrest – as well as Mobile Field Force.
              8            8.     As I was traveling to the Los Angeles County Sheriff’s Department
              9     Operations Center, at about 5:15 PM on June 7, I was contacted by representatives
             10     of both LAPD and LASD asking me if the National Guard was being deployed and
             11     who was deploying them. Typically, during fires or other disasters, agencies that
             12     exhaust their local resources and need assistance will submit a request through the
             13     Mutual Aid System requesting the assistance of the National Guard to provide
             14     assistance in conducting activities like staffing traffic control points to enable
             15     officers/deputies to focus on other law enforcement activities. As neither LAPD nor
             16     LASD had made such a request, it was unclear to them how the National Guard was
             17     being activated.
             18            9.     During the evening of June 7, I observed the protest activities and law
             19     enforcement response from the LASD Department Operations Center. Based on my
             20     observations and conversations with LAPD, the protest activities at the
             21     Metropolitan Detention Center were fairly in control with some incidents with
             22     protesters targeting the Metropolitan Detention Center. After federal officers
             23     pushed protesters away from the detention center, LAPD moved in front of the
             24     federal officers’ skirmish line and declared an unlawful assembly. By 2:15 a.m.,
             25     most of the protestors had left the area. Most activity that evening was focused in
             26     the cities of Paramount and Compton, where the LASD deployed additional
             27     resources to assist with crowd movement and control, as federal officers moved
             28     protesters away from federal property and onto the streets, which are within the
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              1     jurisdiction of local law enforcement. At that time, some protesters unfortunately
              2     began to engage in dangerous behavior such as throwing rocks and other objects,
              3     including a Molotov Cocktail at deputies damaging vehicles, burning a vehicle,
              4     looting a gas station, and vandalizing property. Two deputies were injured during
              5     the incident. Local law enforcement was able to bring the situation under control
              6     and it is my understanding that by 4:00 a.m. on the morning of June 8, the LASD
              7     demobilized its teams, after it de-escalated the situation.
              8            10. In my estimation, there were approximately 300 to 400 protesters present
              9     on the evening of June 7 in the cities of Paramount and Compton, and that at least
             10     11 individuals were arrested for engaging in unlawful behavior that evening related
             11     to the protests in Los Angeles, Paramount, and Compton.
             12            11. On the morning of Sunday, June 8, I was contacted by individuals with
             13     the LAPD and LASD asking if the National Guard had arrived. I subsequently
             14     learned that they had arrived in the area, but it was not clear what role they were to
             15     play or what orders they were provided. In addition, there were concerns that
             16     having been deployed so quickly, the National Guard members did not have the
             17     equipment or training necessary to handle the situation. Without such equipment
             18     and training, and without any police powers, the National Guard members would be
             19     limited in how they could respond to protesters when equipped only with a rifle, a
             20     baton, and a shield.
             21            12. As the day progressed, there was a significant increase in the number of
             22     protesters in the area, and in particular at the Metropolitan Detention Center, where
             23     the National Guard were deployed. It appeared that the crowd at the Metropolitan
             24     Detention Center had increased significantly from the prior days’ protest. LAPD
             25     estimated over 3,500 protesters. In addition, many of the protesters appeared angry
             26     that the National Guard had been federalized and was now present in their city. The
             27     presence of the National Guard seemed to only inflame the protesters further.
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              1            13. In addition to LAPD and LASD, the California Highway Patrol also
              2     deployed to the protest area as protestors had blocked Highway 101 after moving
              3     away from the Metropolitan Detention Center. Additionally, law enforcement
              4     mutual aid resources were requested from several law enforcement agencies both
              5     inside and outside of Los Angeles County to assist with controlling and addressing
              6     the civil unrest.
              7            14. I understand that at least 42 individuals were arrested related to their
              8     conduct during protests on June 8, with at least 19 of those individuals having been
              9     arrested by the CHP.
             10            15. Given that the number of protesters has increased since the arrival of the
             11     National Guard, LAPD is now seeking the assistance of additional officers and
             12     these needs are being met by local law enforcement through California’s Law
             13     Enforcement Mutual Aid System.
             14
             15            I declare under penalty of perjury under the laws of the United States that the
             16     foregoing is true and correct.
             17            Executed on June 10, 2025, at Los Angeles, California.
             18
             19                                                             Brian Olmstead
             20
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                                                                                               Declaration of Brian Olmstead
